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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                Case No. 0:18-cv-60995-KMM

   ZACHARY PAUL CRUZ,

                   Plaintiff,

   v.

   CAPTAIN SHEREA GREEN et al.,

               Defendants.
   ________________________________________________/

        ORDER ON DEFENDANT CAPTAIN SHEREA GREEN’S MOTION TO DISMISS

             THIS CAUSE came before the Court upon Defendant Captain Sherea Green’s (“Captain

   Green”) Motion to Dismiss (“Motion”) (ECF No. 18) five counts of Plaintiff Zachary Paul

   Cruz’s (“Plaintiff”) Complaint (“Compl.”) (ECF No. 1). 1 Plaintiff filed a response (“Response”)

   (ECF No. 24) and Captain Green replied (“Reply”) (ECF No. 27). The matter is now ripe for

   review.

   I.        BACKGROUND 2

             Plaintiff is an 18–year–old former student at Marjory Stoneman Douglas High School

   (“Stoneman Douglas”) in Parkland, Florida and the brother of Nicholas Cruz. Compl. ¶¶ 10–11.

   On February 14, 2018, Nicholas Cruz allegedly murdered 17 Stoneman Douglas students and

   injured many others. Id. On March 19, 2018, after students had been dismissed for the day,

   Plaintiff skateboarded onto the grounds of Stoneman Douglas. Id. ¶¶ 12–13. While on school

   grounds, Plaintiff did not make threats, approach anyone, or otherwise behave in an odd manner.

   Id. ¶ 12. Nor did he use any kind of force to enter school premises. Id. ¶ 13.

   1
     Plaintiff brings the instant action against multiple Defendants, including Captain Green. This
   Order addresses only the arguments raised in Captain Green’s Motion to Dismiss.
   2
     The pertinent facts are taken from the Complaint and accepted as true for the purpose of ruling
   on this Motion. Fernandez v. Tricam Indus., Inc., No. 09-cv-22089, 2009 WL 10668267, at *1
   (S.D. Fla. Oct. 21, 2009).
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          An unnamed Deputy from the Broward County Sheriff’s Office (“BCSO”) approached

   and stopped Plaintiff while he was skateboarding.       Id. ¶ 15.    Once stopped, Plaintiff was

   cooperative, did not flee nor resist, and freely answered the Deputy’s questions. 3 Id. Plaintiff

   provided the Deputy with his name, telephone number, and information regarding his

   employment and living situation. Id. ¶ 16. When asked why Plaintiff was on school grounds,

   Plaintiff replied that he was “trying to soak it all in.” Id. Upon learning Plaintiff’s identity,

   Plaintiff was arrested for trespassing and booked into custody at the Broward County Main Jail

   (the “Main Jail”). Id. ¶ 17.

          Plaintiff’s bond on his misdemeanor trespass charge, initially set at $25, was paid at 9:54

   p.m. while Plaintiff was booked at the Main Jail. Id. ¶ 19. After posting bond, Plaintiff

   attempted to depart, but Main Jail staff refused to release him. Id. ¶ 21. At 11:00 p.m., a

   medical report written by Gale Kite, an advanced registered nurse practitioner, stated that Cruz

   had no telephone, car, or responsible transportation, and that he was “at risk of being released to

   the streets, and has the entire community at unease.” Id. ¶ 19.

          The following day, Plaintiff appeared before a Florida state court judge (“Judge

   Mollica”) for a bond hearing. Id. ¶ 22. At the hearing, the State of Florida requested that bond

   be set at $750,000, arguing that Plaintiff should, among other things: not be permitted to return

   to Broward County; have his home searched prior to Plaintiff’s release; be barred from all school

   property; and be on house arrest and subject to GPS tracking. Id. The State claimed that these

   remedies were necessary because “of the fear that [Plaintiff’s] presence invokes because of his

   family relationship,” and asked Judge Mollica to “use every means available to ensure that

   ‘students can attend school without fear.’” Id. Judge Mollica set bond at $500,000, noting that


   3
      Plaintiff alleges to have video footage of the arrest, which shows him behaving calmly
   throughout the encounter. Id. ¶ 24.
                                                 2
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   Plaintiff is the brother of Nicholas Cruz and that Stoneman Douglas students deserved to feel

   safe, especially following a grave tragedy. Id. ¶ 23.

          Unable to make bail, Plaintiff remained in custody until he was involuntarily committed,

   under the Baker Act, Fla. Stat. § 394.467 (2016), to the Broward Health Medical Center (the

   “Medical Center”), where Plaintiff spent five days undergoing repeated mental health

   evaluations and was placed on 24–hour suicide watch, with medical staff check–ups every 15

   minutes. Id. ¶¶ 24–25. Doctors at the Medical Center found Plaintiff to be pleasant, cooperative,

   and alert, and found no signs of depression or suicidal or homicidal behavior.              Id. ¶ 25.

   Nonetheless, the Medical Center “did recommend [to Captain Green and jail staff] that [Plaintiff]

   continue [to be] on suicide prevention” watch. Id. ¶ 47.

          After being released from the Medical Center and returned to the Main Jail, Plaintiff’s

   treatment “became immediately harsher.” Id. ¶ 27. Plaintiff was placed in the infirmary on 24–

   hour lockdown, allowed to leave his cell only for visits with his attorney or daily nurse. Id.

   Plaintiff was also placed in a suicide vest, a heavy restraint that limited his movement, for 24

   hours a day, which was only removed once Plaintiff executed a plea deal with the State. Id. ¶ 28.

   Plaintiff suffered sleep deprivation caused by lighting not being dimmed at night and harassment

   by the jail nurse and attending guard regarding Plaintiff’s mental health. Id. ¶¶ 28, 30

          On May 3, 2018, Plaintiff filed the Complaint under 42 U.S.C. § 1983 against multiple

   Defendants, including Captain Green, alleging violations stemming from Plaintiff’s detention at

   the Main Jail. See generally Compl. In Counts I and II, Plaintiff alleges that Captain Green

   violated Plaintiff’s Fourth Amendment right against unlawful seizures (“Count I”) and

   Fourteenth Amendment right to due process (“Count II”) by failing to release him from custody

   after Plaintiff posted his initial bond. Id. ¶¶ 38–44. In Count III, Plaintiff alleges that, after his

   bond hearing, Captain Green (i) ordered jail staff to place Plaintiff under 24–hour watch, in a
                                                     3
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   heavy suicide restraint vest and in a room with constant full lighting, which led to Plaintiff’s

   sleep deprivation and (ii) approved without adequate cause Plaintiff’s involuntary hospitalization

   under the Baker Act. Id. ¶¶ 45–49. In Count VII, 4 Plaintiff asserts a Florida state law claim of

   false imprisonment against Captain Green for detaining Plaintiff after his posting of bond. Id. ¶

   63. Finally, in Count IX, Plaintiff seeks attorney’s fees against all Defendants, including Captain

   Green. Id. at 23.

          Captain Green moves to dismiss Counts I, II, and III pursuant to Fed R. Civ. P. 12(b)(6),

   arguing that the doctrine of qualified immunity shields her from liability because she acted

   within her discretionary authority as a government official and Plaintiff has not plausibly pled

   facts that would overcome a qualified immunity defense. Motion at 2–5. Captain Green further

   argues that Plaintiff’s false imprisonment claim must also be dismissed because Plaintiff has not

   plausibly alleged that Captain Green acted in bad faith or with a malicious purpose in continuing

   to detain Plaintiff. Motion at 12–13. In response, Plaintiff argues that because Captain Green

   acted with “intentional malice” in detaining Plaintiff after his bond was posted and then

   sanctioned the torture of Plaintiff by keeping him under constant, bright light 24 hours per day,

   Captain Green is not entitled to qualified immunity and is liable for false imprisonment.

   Response at 7, 12–16.

   II.    STANDARDS OF REVIEW

          To survive a motion to dismiss, a complaint must contain sufficient factual matter,

   accepted as true, to “state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556

   U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The

   4
      The Court observes that Plaintiff’s counsel mislabeled every count in the Complaint after
   Count V. Had Plaintiff’s counsel properly labeled each count, Plaintiff’s false imprisonment
   claim would be Count VII and Plaintiff’s claim for attorney’s fees would be Count IX.
   Accordingly, the Court will refer to the above–mentioned Counts as Count VII and Count IX.
   The Court urges Plaintiff’s counsel to be more careful when labeling counts in future filings.
                                                   4
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   purpose of this requirement is “to give the defendant fair notice of what the claim is and the

   grounds upon which it rests.” Twombly, 550 U.S. at 555. When considering a motion to

   dismiss, the court must accept all of the plaintiff’s allegations as true, construing them in the

   light most favorable to the plaintiff, and drawing all inferences in the plaintiff's favor. Pielage v.

   McConnell, 516 F.3d 1282, 1284 (11th Cir. 2008); Williams v. Alabama State University, 102

   F.3d 1179, 1182 (11th Cir. 1997). A complaint must also contain enough facts to indicate the

   presence of the required elements. Watts v. Fla. Int’l Univ., 495 F.3d 1289, 1302 (11th Cir.

   2007). However, “[a] pleading that offers ‘a formulaic recitation of elements of a cause of action

   will not do.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555). “[C]onclusory

   allegations, unwarranted deductions of fact or legal conclusions masquerading as facts will not

   prevent dismissal.” Oxford Asset Mgmt., Ltd. v. Jaharis, 297 F.3d 1182, 1188 (11th Cir. 2002).

   In a civil rights action, more than mere conclusory allegations are required in order for a

   complaint to survive dismissal. See Fullman v. Graddick, 730 F.2d 553, 556 (11th Cir. 1984).

          The doctrine of qualified immunity “offers complete protection for government officials

   sued in their individual capacities if their conduct does not violate clearly established statutory or

   constitutional rights of which a reasonable person would have known.” Vinyard v. Wilson, 311

   F.3d 1340, 1346 (11th Cir. 2002) (internal citation omitted). Entitlement to qualified immunity

   first requires that a public official establish that he or she was engaged in a “discretionary duty.”

   Mercado v. City of Orlando, 407 F.3d 1152, 1156 (11th Cir. 2005). Once it has been established

   that the official was engaged in a discretionary duty, the burden shifts to the plaintiff to establish

   “both that the defendant committed a constitutional violation and that the law governing the

   circumstances was already clearly established at the time of the violation.” Youmans v. Gagnon,

   626 F.3d 557, 562 (11th Cir. 2010). “This objective–reasonableness test provides qualified

   immunity protection to all but the plainly incompetent or those who knowingly violate the law.”
                                                     5
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   Soto v. City of North Miami, No. 17-22090-Civ-Scola, 2017 WL 4685301, *6 (S.D. Fla. Oct. 17,

   2017) (internal quotation omitted). “The protection of qualified immunity applies regardless of

   whether the government official’s error is a mistake of law, a mistake of fact, or a mistake based

   on mixed questions of law and fact.” Pearson v. Callahan, 555 U.S. 223, 231 (2009) (internal

   quotation omitted). A defendant pleading qualified immunity is entitled to dismissal “unless the

   plaintiff’s allegations state a claim of violation of clearly established law.” Cottone v. Jenne, 326

   F.3d 1352, 1357 (11th Cir. 2003). Generally, courts are urged to apply the affirmative defense of

   qualified immunity at the earliest possible stage in litigation—including on a motion to dismiss.

   See Andrade v. Miami Dade Cty., No. 09-23220-CIV, 2010 WL 4069128 (S.D. Fla. Sep. 30,

   2010). This two-pronged analysis may be done in whatever order deemed most appropriate.

   Pearson v. Callahan, 555 U.S. 223, 241 (2009). 5

   III.   DISCUSSION

          Captain Green argues that she is entitled to qualified immunity because she acted within

   the scope of her official duties and did not violate any clearly established statutory or

   constitutional rights.     Motion at 5–6.     Captain Green also argues that Plaintiff’s false

   imprisonment claim should be dismissed because Plaintiff has not plausibly alleged that Captain

   Green acted in bad faith or with malicious purpose in detaining him. Motion at 12. In response,

   Plaintiff argues that Captain Green knew that Plaintiff’s bond was paid but illegally detained

   Plaintiff overnight anyway. Response at 7. Plaintiff adds that Captain Green acted with malice

   in falsely imprisoning Plaintiff even after knowing that Plaintiff’s bond was paid. Id. at 8;

   Compl. ¶¶ 17–22.         Finally, Plaintiff claims that Captain Green knowingly approved and



   5
     In Callahan, the Court stated that federal judges “should be permitted to exercise their sound
   discretion in deciding which of the two prongs of the qualified immunity analysis should be
   addressed first in light of the circumstances in the particular case at hand.” 555 U.S. at 236.
                                                      6
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   sanctioned conditions at the Main Jail that led to Plaintiff experiencing continuous sleep

   deprivation. Id. ¶¶ 45–49.

           1.     Counts I and II: Detention Following Posting of Bond

           In Counts I and II, Plaintiff alleges that Captain Green violated Plaintiff’s rights under the

   Fourth and Fourteenth Amendments for his continued detention after the posting of his initial

   bond. Compl. ¶¶ 38–44.

                  A.      Identifying The Precise Right Violated

           “[T]he first step in any § 1983 analysis requires identification of the precise right that is

   alleged to have been violated.” Alcocer v. Mills, 906 F.3d 944, 947 (11th Cir. 2018). “Different

   rights prescribe different legal analyses, so accurately diagnosing the right at issue is critical to

   properly analyzing a § 1983 plaintiff’s claims.” Id. Although Plaintiff alleges that Captain

   Green’s decision to detain him following the posting of bond violated both his Fourth and

   Fourteenth Amendment rights, the Court must decide which right, the Fourth or the Fourteenth,

   is most directly implicated by the facts alleged. See id. (citing Franklin v. Curry, 738 F.3d 1246,

   1250 (11th Cir. 2013)). As stated by the Eleventh Circuit:

           The right involved makes a significant difference. If the facts implicate [the plaintiff’s]
           Fourth Amendment right, to receive qualified immunity, [the d]efendants must have had
           probable cause, or at least arguable probable cause, to believe [that the plaintiff
           committed a crime]. If, on the other hand, the Fourteenth Amendment governs the fact
           pattern here, [the plaintiff] must show that [the d]efendants were deliberately indifferent
           to [the plaintiff’s] right to be released.

   Id. at 948.

           Here, identifying the “most precise constitutional violation” requires the Court to

   establish the cause of Plaintiff’s continued detention after the satisfaction of his initial bond. See

   id. at 952. Plaintiff secured bond on March 19, 2018 at 9:54 p.m. for the misdemeanor offense

   of trespassing on school grounds and alleges that he would have been released immediately

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   thereafter if not for certain orders by Captain Green and other jail staff to continue Plaintiff’s

   detention. Compl. ¶¶ 17–22.

          The Eleventh Circuit’s recent opinion in Alcocer is instructive to the Court’s analysis.

   There, the plaintiff was arrested and detained for driving with a suspended license, a

   misdemeanor offense. 906 F.3d at 947. After posting bond, the county jail continued to detain

   her because jail officers received an alert from the United States Immigration and Customs

   Enforcement (“ICE”) suggesting that the plaintiff might be present in the United States illegally.

   Id. Although the plaintiff was not in the country illegally, jail staff released her after she spent

   26 hours in custody and only after ICE confirmed that the plaintiff was not present in the United

   States without authorization. Id. at 950. The plaintiff sued county jail employees for violating

   her rights under both the Fourth and Fourteenth Amendments, and the employees moved for

   summary judgment, invoking qualified immunity. Id. at 948.

          The district court found that the Fourth Amendment right to be free from unreasonable

   seizures governed the case, and that the burden was on the defendants to show that they had

   arguable probable cause to believe that the plaintiff had committed a crime by being present in

   the United States without authorization. Alcocer v. Bulloch Cty. Sheriff’s Office, CV 615–94,

   2017 WL 4386969, at *6–*7 (S.D. Ga. Sept. 29, 2017), aff’d in part, 906 F.3d 944. Concluding

   that the defendants did not establish probable cause for detaining the plaintiff, the district court

   denied the defendants’ summary judgment motion on the basis of qualified immunity. Id. at *7.

   The district court also dismissed the plaintiff’s claims under the Fourteenth Amendment as

   duplicative of her Fourth Amendment claim. Id. at *8–*9.




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          The Eleventh Circuit, affirming the district court’s decision in part, 6 held that the precise

   right allegedly violated by the defendants implicated the Fourth Amendment instead of the

   Fourteenth. Id. at 948. The Eleventh Circuit reasoned that although cases involving “over–

   detentions” could be brought under the Fourteenth Amendment, the facts of Alcocer more

   directly implicated the Fourth Amendment because (i) the plaintiff’s detention was based upon

   facts that were not part of the probable cause that supported the plaintiff’s original detention and

   (ii) the text of the Fourth Amendment “provide[d] an explicit source of protection for the right

   that [the d]efendants allegedly violated.” Id. at 955.

          Here, as in Alcocer, Plaintiff was arrested for a misdemeanor trespass offense and posted

   bond, but was nonetheless detained by jail staff, including Captain Green, overnight and until his

   subsequent bail hearing before Judge Kim Mollica. Compl. ¶¶ 17–22. Moreover, the “over–

   detention” cases considered by the Eleventh Circuit under the Fourteenth Amendment

   framework generally concerned administrative errors by jail staff that led to continued detentions

   following postings of bond. See, e.g., West v. Tillman, 496 F.3d 1321, 1327 (11th Cir. 2007)

   (affirming grant of qualified immunity for officers who detained the plaintiff for an additional 23

   days because of faulty, though unintentional, administration of bond–notification); Case v.

   Eslinger, 555 F.3d 1317, 1326 (11th Cir. 2009) (affirming grant of qualified immunity for

   officers who detained the plaintiff for an additional seven hours due to administrative deficiency

   at the jail); Cannon v. Macon Cty., 1 F.3d 1558, 1560–1561 (11th Cir. 1993) (affirming grant of

   qualified immunity for officers who mistakenly, but unintentionally, detained the plaintiff

   because the plaintiff had the same name as a person wanted in another state). Here, no such



   6
      The Eleventh Circuit reversed the district court’s denial of qualified immunity because the
   district court did not conduct an individualized assessment of each defendant’s actions to
   determine whether either or both defendants were entitled to qualified immunity. Id. at 955.
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   errors were alleged; instead, Captain Green and her subordinates purposely detained Plaintiff

   after he posted bond.

          Nonetheless, Plaintiff’s initial arrest was, at least in part, based upon the same facts that

   supported Plaintiff’s detention following his bond payment. As Plaintiff himself alleges, upon

   confronting Plaintiff for skateboarding on school property, BCSO Deputies “were preparing to

   issue a trespass warning to [Plaintiff]” but, “upon learning who he was . . . arrested [Plaintiff]

   instead.” Compl. ¶ 17. Thus, unlike in Alcocer, where the plaintiff was arrested solely for

   driving with a suspended license, and then suspected of having committed another crime only

   while in custody, Plaintiff was detained after posting bond largely for the same reasons that he

   was initially arrested.   While the Alcocer plaintiff continued to be detained because of a

   suspicion of another crime–illegal presence in the United States–Plaintiff was not suspected of

   any other crime and was detained after posting bond based upon a fear of Plaintiff “being

   released to the streets,” with “the entire community” feeling “at unease.” See Compl. ¶ 19;

   Motion at 8.

          Although a close call, the Court finds that the precise right allegedly violated is Plaintiff’s

   Fourteenth Amendment right to be free from continued detention after law enforcement should

   have known that he was entitled to release, rather than his Fourth Amendment right against

   unreasonable seizures. First, as stated, the reasons underlying Plaintiff’s continued detention

   following the satisfaction of his bond are substantively the same reasons supporting probable

   cause for his initial arrest. This distinguishes the instant case from those like Alcocer, where the

   plaintiff was detained following the posting of bond because of suspicion of an unrelated or

   independent offense. 906 F.3d at 949–950; see also C.F.C. v. Miami-Dade Cty., CASE No. 18-

   CV-22956-KMW, 2018 WL 6616030, at *18–*19 (S.D. Fla. Dec. 14, 2018) (holding that the

   Fourth Amendment governs over–detention cases involving alerts from ICE that request
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   continued detention following posting of bond); Creedle v. Miami-Dade Cty., Case No. 17-CIV-

   22477-WILLIAMS, 2018 WL 6427713, at *25–*26 (S.D. Fla. Nov. 9, 2018) (same); Morales v.

   Chadbourne, 793 F.3d 208, 212 (1st Cir. 2015) (same).

          Second, although Alcocer found that the Fourth Amendment provided an “explicit source

   of protection” against unreasonable seizures, it did so only “under the factual scenario [at hand].”

   906 F.3d at 955. The Eleventh Circuit therefore did not issue a blanket ruling that all cases

   involving allegations of over–detention implicated the precise Fourth Amendment right against

   unreasonable seizures, and in fact explicitly acknowledged that certain over–detention cases can

   and do implicate the Fourteenth Amendment. Id. at 953–954 (citing West, Case, and Cannon as

   examples).

          Third, West, Case, and Cannon all involved some sort of negligence on the part of jail

   administration in prolonging a plaintiff’s detention. In contrast, Plaintiff here alleges that his

   post–bond detention was intentional and malicious. See Compl. ¶¶ 19, 21, 40. However, this

   distinction does not preclude a finding that the precise right alleged by Plaintiff falls under the

   Fourteenth Amendment. In fact, Plaintiff’s central claim in Counts I and II–that Captain Green

   violated his right to be free from continued detention after being put on notice of his alleged

   entitlement to release–is almost identical in substance to those made by the plaintiffs in West,

   Case, and Cannon.

          The Court thus finds that the precise right allegedly violated by Captain Green was

   Plaintiff’s Fourteenth Amendment right to be free from detention without due process of the law.

   Accordingly, Count I of the Complaint, alleging a Fourth Amendment violation of Plaintiff’s

   right against unreasonable seizures, is hereby dismissed. 7 The burden therefore falls on Plaintiff


   7
      The Alcocer court did not explicitly state that if a § 1983 plaintiff alleged multiple
   constitutional violations based upon a claim of over–detention, the identification of the most
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   to show that Captain Green was deliberately indifferent to Plaintiff’s right to be released. See

   Alcocer, 906 F.3d at 948.

                  B.      Deliberate Indifference

          To demonstrate that Captain Green acted with deliberate indifference to Plaintiff’s right

   to be released, Plaintiff must plausibly allege that Captain Green: (i) had subjective knowledge

   of a risk of serious harm, consisting of continued detention when Plaintiff was entitled to be

   released; (ii) disregarded that risk; and (iii) did so by conduct that is more than mere negligence.

   See West, 496 F.3d at 1327; Iqbal, 556 U.S. at 678.

          Plaintiff alleges that he posted bond and attempted to leave the Main Jail, but that Captain

   Green and her subordinates refused to release him. Compl. ¶¶ 19, 21, 40. Although Plaintiff

   does not explicitly allege that Captain Green “had subjective knowledge” that Plaintiff posted

   bond and was therefore entitled to be released, such knowledge can be inferred from Plaintiff’s

   alleged attempt to leave custody and Captain Green’s subsequent denial of same.             See id.

   precise constitutional violation (i.e., the Fourth Amendment right against unreasonable seizures)
   would necessarily result in the dismissal of the remaining claim (i.e., the Fourteenth Amendment
   right to due process against unreasonable detention). However, the Court fails to see how the
   lesser–precise constitutional claim in the instant case could survive once the precise right is
   identified. If the Court, after identifying the precise constitutional violation at issue, proceeded
   to analyze the remaining constitutional violations under their respective standards, such analyses
   would effectively render moot the required exercise of identifying the most precise right at issue.
   See 906 F.3d at 947. For example, if the Court found, as it did, that the precise right at issue in
   the instant case was Plaintiff’s Fourteenth Amendment right to be free from unlawful detention,
   it would proceed to analyze Plaintiff’s § 1983 claim under the requisite deliberate indifference
   framework. See id at 947–48. However, if the Court also went on to analyze whether Captain
   Green violated Plaintiff’s Fourth Amendment right against unreasonable seizures under a
   probable cause standard, the Court would effectively render its “precise right” analysis moot
   because both claims would have been evaluated under their respective standards regardless of
   any precise right identification. See id. (stating that the “precise right” inquiry is “critical” to
   analyzing a § 1983 claim and that it “make[s] a significant difference” to the ultimate analysis).
   In affirming the district court’s dismissal of the plaintiff’s Fourteenth Amendment claims, the
   Alcocer court stated that under the facts alleged, the Fourth Amendment “govern[ed],”
   suggesting only one governing standard over the plaintiff’s over–detention claim. 906 F.3d at
   955. Similarly, because the Fourteenth Amendment “governs” the instant dispute, Plaintiff’s
   Fourth Amendment claim under Count I is dismissed. See id. at 955.
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   Moreover, Captain Green states that “there was concern over releasing Plaintiff when he posted

   the scheduled bond,” suggesting that Captain Green may have known that Plaintiff posted bond

   and was therefore entitled to release. Motion at 8. Because the Court must, at this early stage,

   draw all reasonable inferences in Plaintiff’s favor, Plaintiff has plausibly alleged that Captain

   Green knew that Plaintiff was entitled to release upon paying bond, but nonetheless ordered his

   continued detention. See Williams, 102 F.3d at 1302.

          Plaintiff has also plausibly alleged that Captain Green disregarded the risk of holding

   Plaintiff in custody after he was entitled to be released. Captain Green states that, following

   Plaintiff’s initial bond post on March 18, 2018 at 9:54 p.m., “there was concern over releasing

   Plaintiff based on Nurse Kite’s note,” which stated that Plaintiff “has no telephone, no car, and

   no responsible transportation,” and that he was therefore “at risk of being released to the streets,

   and has the entire community at unease.”           Motion at 8 (emphasis added); Compl. ¶ 19.

   However, Plaintiff alleged that Nurse Kite did not issue her report until 11:00 p.m. Compl. ¶ 19.

   Taking Plaintiff’s allegations as fact, as the Court must, jail staff could not have relied upon

   Nurse Kite’s report to detain him after his post of bond because Nurse Kite’s report was not

   issued until about an hour after Plaintiff posted bond. 8 Plaintiff has thus plausibly alleged that

   Captain Green, without the benefit of any additional information other than Plaintiff’s initial

   arrest, disregarded the risk of detaining Plaintiff after he was entitled to leave.




   8
      The Court observes that Plaintiff did not specify whether and when Nurse Kite examined
   Plaintiff in person, nor did he allege any details on the nature or scope of the examination. The
   only detail provided about Nurse Kite’s report is that she believed Plaintiff to be “at risk of being
   released,” ostensibly upon the posting of bond, and that he “ha[d] the entire community at
   unease.” Compl. ¶ 19. Neither of these statements, however, appeared to have required any kind
   of medical or professional confirmation. That Plaintiff was set to be released was a fact of his
   posting of bond. Moreover, the contention that Plaintiff “ha[d] the entire community at unease”
   appears to be one more readily asserted by the BCSO than Nurse Kite.
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          Finally, Plaintiff has plausibly alleged that Captain Green’s decision to detain Plaintiff

   following his posting of bond amounted to more than mere negligence. In West, the Eleventh

   Circuit held that a bureaucratic failure on the part of several jail employees to properly process

   the plaintiffs’ post–bond releases did not amount to deliberate indifference to the plaintiffs’ right

   to be released upon posing bond, but rather a cause of budget and staffing cuts within the jail.

   496 F.3d at 1333 (“[n]o one is entitled to an error–free bureaucracy.”). Here, however, Plaintiff

   alleges that Captain Green had subjective knowledge that Plaintiff had posted bond, yet

   effectively disregarded the bond payment and continued Plaintiff’s detention nonetheless. Thus,

   unlike the jail staff in Case, West, or Cannon, the decision by Captain Green and her

   subordinates to continue Plaintiff’s detention following his posting of bond, as alleged by

   Plaintiff and implicitly conceded by Captain Green, was intentional, and therefore rose above the

   “mere negligence” required to maintain a claim for deliberate indifference to Plaintiff’s right to

   be released.

          Because Plaintiff has plausibly alleged that Captain Green was deliberately indifferent to

   his right to be released upon his satisfaction of bond, the Court denies Captain Green’s motion to

   dismiss Count II of the Complaint.

          2.      Count III: Alleged Mistreatment Following Bond Hearing

          Captain Green moves to dismiss Plaintiff’s claim that his conditions of pre–trial

   confinement, which led to sleep deprivation, violated Plaintiff’s rights to due process under the

   Fourteenth Amendment. 9        First, Captain Green claims that the conditions of Plaintiff’s


   9
      Plaintiff also claims that he was involuntarily committed pursuant to the Baker Act without
   adequate justification, but does not explain in any detail why this is so. Compl. ¶ 46. Plaintiff
   has thus failed to allege “sufficient factual matter, accepted as true, to state a claim to relief that
   is plausible on its face.” Iqbal, 556 U.S. at 678. The Court therefore dismisses Plaintiff’s due
   process claim on this ground pursuant to Fed. R. Civ. P. 12(b)(6).

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   confinement did not violate Plaintiff’s Fourteenth Amendment rights, and that even if they did,

   the qualified immunity doctrine shields her from liability for those violations. Motion at 8–12.

   In response, Plaintiff argues that the conditions of his confinement constituted torture, and

   therefore demonstrated deliberate indifference to his rights. Response at 12. Plaintiff further

   argues that Captain Green is not shielded by qualified immunity because she violated established

   law forbidding her from subjecting Plaintiff to sleep deprivation.

          The Court need not determine whether a constitutional violation occurred because

   Captain Green is entitled to qualified immunity as to Plaintiff’s claim regarding his pre–trial

   confinement. See Callahan, 555 U.S. at 241 (permitting district courts to evaluate whether §

   1983 defendants violated clearly established law as the initial step in a qualified immunity

   analysis). First, it is not in dispute that Captain Green’s alleged conduct was done in her

   “discretionary duty” as a public official. See Gagnon, 626 F.3d at 562. The burden thus shifts to

   Plaintiff to establish “both that the defendant committed a constitutional violation and that the

   law governing the circumstances was already clearly established at the time of the violation.” Id.

   As Plaintiff concedes, neither the United States Supreme Court, the Florida Supreme Court, nor

   the Eleventh Circuit has held that the specific actions or omissions allegedly undertaken by

   Captain Green following Plaintiff’s bond hearing that resulted in Plaintiff’s sleep deprivation

   violated clearly established law. Response at 15; McClish v. Nugent, 483 F.3d 1231, 1237 (11th

   Cir. 2007). The cases cited by Plaintiff for the contention that courts have, in one form or

   another, permitted causes of actions for sleep deprivation to proceed are inapposite to the instant

   analysis. 10 The Court therefore grants Captain Green’s motion to dismiss Count III of the

   Complaint.


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     For instance, the defendant in Hernandez v. Ryan, No. 09–20119–CIV., 2009 WL 3462178, at
   *1–*2 (S.D. Fla. Oct. 22, 2009) did not assert a qualified immunity defense, arguing instead that
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          3.      Count VII: False Imprisonment

          Captain Green moves to dismiss Plaintiff’s Florida state law claim for false imprisonment

   because of Plaintiff’s failure to plausibly allege that Captain Green “acted in bad faith or with

   malicious purpose.” Motion at 12–13; Fla. Stat. § 768.28(9)(a) (precluding personal liability in

   tort for state agents, employees, or officers unless the state agents, employees, or officers “acted

   in bad faith or with malicious purpose or in a manner exhibiting wanton and willful disregard of

   human rights, safety, or property.”). Plaintiff argues that Captain Green acted out of “intentional

   malice” when she failed to release Plaintiff upon paying bond. Response at 7.

           “A false imprisonment claim under section 1983 is based on the protection of the

   Fourteenth Amendment against deprivations of liberty without due process of law.” Ortega v.

   Christian, 85 F.3d 1521, 1527 (11th Cir. 1996) (internal citation omitted).          Such a claim

   “requires a showing of common law false imprisonment and a due process violation under the

   Fourteenth Amendment.” Campbell v. Johnson, 586 F.3d 835, 840 (11th Cir. 2009). “The

   elements of common law false imprisonment are an intent to confine, an act resulting in

   confinement, and the victim's awareness of confinement.” Id. Moreover, under Florida law, the

   plaintiff must additionally allege that the defendant “actively participated” in the restraint and

   that the restraint was “unreasonable and unwarranted under the circumstances.” Spears v.

   Albertson’s, Inc., 848 So. 2d 1176, 1178 (Fla. 1st Dist. Ct. App. 2003) (internal citation omitted).

   the plaintiff failed to adequately allege damages and administratively exhaust his remedies
   pursuant to the Prison Litigation Reform Act of 1995, 42 U.S.C. § 1997e, et seq. Same with
   Bracewell v. Lobmiller, 938 F. Supp. 1571, 1579 (M.D. Ala 1996), which considered neither a
   qualified immunity defense nor a contention that sleep deprivation through consistent check–ups
   and bright lighting constituted deliberate indifference to a detainee’s rights. Although the Court
   is aware of cases stating that constant illumination can amount to a constitutional violation and
   thus provide a basis for a § 1983 action, see e.g., Keenan v. Hall, 83 F.3d 1083, 1090 –1091 (9th
   Cir. 1996), those cases do not constitute binding precedent in this Court for qualified immunity
   purposes. See Nugent, 483 F.3d at 1237. Moreover, those cases are distinguishable from the
   instant case because, as Plaintiff himself alleges, Captain Green acted on a recommendation from
   the Broward County Medical Center to keep Plaintiff on suicide watch. See Compl. ¶ 47.
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   Finally, false imprisonment claims fail if there was probable cause for a plaintiff’s arrest. See

   Perez v. Harrelson, Case No. 6:15-cv-879-Orl-37GJK, 2016 WL 866590, at *6 n.5 (M.D. Fla.

   Mar. 7, 2016) (internal citation omitted).

          To establish a due process violation, Plaintiff must demonstrate that Captain Green acted

   with deliberate indifference in continuing to detain Plaintiff after his posting of bond. See id. As

   established supra, Plaintiff has plausibly alleged that Captain Green acted with deliberate

   indifference to Plaintiff’s right against continued detention following his posting of bond. 11

          Plaintiff has also plausibly alleged both common law and Florida law false imprisonment

   violations. Taking Plaintiff’s allegations as fact, Captain Green intended to confine Plaintiff

   after his alleged entitlement to release, and Plaintiff was, in fact, confined and aware of his

   confinement. See Campbell, 586 F.3d at 840. Moreover, because Captain Green allegedly

   approved Plaintiff’s continued detention, and knew of his potential entitlement to release,

   Plaintiff has plausibly alleged that Captain Green “actively participated” in Plaintiff’s

   confinement and that the confinement was “unreasonable” given Plaintiff’s satisfaction of bond.

   See Spears, 848 So. 2d at 1178

          Finally, it is not clear that Captain Green had probable cause to detain Plaintiff after he

   posted bond. As alleged, and unlike the plaintiff in Alcocer, Plaintiff was detained after posting

   bond, not out of any suspicion of having committed an independent offense, but out of a fear that

   Plaintiff’s release will cause greater “unrest” in the community. Captain Green does not explain

   how such a fear, without more, provided her probable cause to detain Plaintiff after his alleged


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       The Court holds that, at this early stage, Fla. Stat. § 768.28(9)(a), precluding public officers
   from liability for official acts done in “bad faith” or “a manner exhibiting wanton and willful
   disregard of human rights. . .” does not shield Captain Green from liability for false
   imprisonment. Although Captain Green asserts that her conduct did not rise to the level of “bad
   faith,” she does not explain how the standard under § 768.28(9)(a) materially differs from the
   deliberate indifference standard under the Fourteenth Amendment.
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   entitlement to release. The Court thus declines to find, at this early stage, that Captain Green had

   probable cause to detain Plaintiff following his posting of bond.

           4.       Count IX: Attorney’s Fees

           As discussed supra, Plaintiff has plausibly alleged that Captain Green was deliberately

   indifferent to Plaintiff’s right to be released following his posting of bond. Successful § 1983

   plaintiffs may recover attorney’s fees and punitive damages upon a showing that the defendant

   displayed “reckless . . . disregard” of the plaintiffs’ constitutional rights. Fields v. Corizon

   Health, Inc., 490 F. App’x 174, 186 (11th Cir. 2012) (internal citation omitted). The Court

   declines to conclude at this stage in the proceedings that Plaintiff categorically cannot show that

   Captain Green displayed “reckless . . . disregard” of Plaintiff’s right to be released upon his

   satisfaction of bond. The Court therefore denies Captain Green’s motion to dismiss Count IX of

   the Complaint.

   IV.     CONCLUSION

           Accordingly, UPON CONSDIERATION of the Motion, the pertinent portions of the

   record, and being otherwise fully advised in the premises, Captain Green’s Motion to Dismiss

   (ECF No. 18) Counts I and III of the Complaint is GRANTED. However, Captain Green’s

   Motion to Dismiss Counts II, VII and IX of the Complaint is DENIED.

           DONE AND ORDERED in Chambers at Miami, Florida, this ____
                                                                7th day of January,

   2019.

                                                                              Digitally signed by K. Michael Moore

                                                  K. Michael Moore
                                                                              DN: cn=K. Michael Moore, o=Southern District of
                                                                              Florida, ou=United States District Court,
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                                                                              Date: 2019.01.07 11:18:25 -05'00'


                                                    K. MICHAEL MOORE
                                                    UNITED STATES CHIEF DISTRICT JUDGE




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